

People v Soto (2025 NY Slip Op 50621(U))



[*1]


People v Soto (William)


2025 NY Slip Op 50621(U)


Decided on April 28, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 28, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570042/19

The People of the State of New York, Respondent,
againstWilliam Soto, Defendant-Appellant.




In consolidated criminal proceedings, defendant appeals from three judgments of the Criminal Court of the City of New York, Bronx County (Phaedra F. Perry, J., at pleas under Docket Nos. 2017BX020172 and 2018BX039414; Jeffrey M. Zimmerman, J., at plea under Docket No. 2018BX003494 and sentencing under all three dockets), rendered December 10, 2018, convicting him, upon his pleas of guilty, of assault in the third degree and two counts of criminal contempt in the second degree, and imposing sentence.




Per Curiam.
Judgments of conviction (Phaedra F. Perry, J., at pleas; Jeffrey M. Zimmerman, J., at plea and sentencing), rendered December 10, 2018, affirmed.
Even accepting defendant's contention that the April 12, 2018 and December 10, 2018 guilty pleas were jurisdictionally defective, he would be entitled to have the pleas vacated. However, he does not request that relief, but instead seeks dismissal of the accusatory instruments or a reduction of the misdemeanor convictions under Docket Nos. 2017BX020172 and 2018BX039414 to violations, and he expressly asks this Court to affirm the judgments if it does not grant one of those remedies. Because, under all the circumstances, we do not find either remedy to be appropriate, we affirm (see People v Boyton, 217 AD3d 583 [2023], lv denied 40 NY3d 950 [2023]; People v Teron, 139 AD3d 450 [2016]).
All concur.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
Clerk of the CourtDecision Date: April 28, 2025







